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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

CRAFTWORKS PARENT, LLC, et al.,                  Case No. 20-10475 (BLS)

         Debtors.                                (Jointly Administered)

                            NOTICE OF APPEARANCE AND
                          REQUEST FOR NOTICES AND PAPERS

         PLEASE TAKE NOTICE that IREIT Flowood Dogwood, L.L.C., IREIT Prattville

Legends, L.L.C., and IREIT Shreveport Regal Court, L.L.C. (collectively, “Landlords”),

creditors and parties-in-interest in the above-captioned cases, hereby appear by their counsel,

Connolly Gallagher LLP, and such counsel hereby enters its appearance pursuant to section

1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and such counsel hereby

requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and sections 342 and 1109(b) of the

Bankruptcy Code, that copies of all notices and pleadings given or filed in the above-captioned

cases be given and served upon the following persons at the following addresses, including email

addresses, telephone, and facsimile numbers:

                          Karen C. Bifferato, Esquire
                          Kelly M. Conlan, Esquire
                          CONNOLLY GALLAGHER LLP
                          1201 N. Market Street, 20th Floor
                          Wilmington, DE 19801
                          Telephone: (302) 757-7300
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                          Email: kconlan@connollygallagher.com




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        PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the Bankruptcy

Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules and sections of the Bankruptcy Code specified above, but also includes,

without limitation, any notice, application, complaint, demand, motion, petition, pleading or

request, whether formal or informal, written or oral, and whether transmitted or conveyed by

mail, delivery, telephone, telegraph, telex or otherwise filed or made with regard to the above-

captioned cases and proceedings related thereto.

        This Notice of Appearance and Request for Notices and Papers shall not be deemed or

construed to be a waiver of (a) Landlords’ rights (i) to have final orders in non-core matters

entered only after de novo review by a District Judge, (ii) to trial by jury in any proceeding so

triable in these cases or in any case, controversy, or proceeding related to these cases, and (iii) to

have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, or (b) any other rights, claims, actions, setoffs, or recoupments to

which Landlords are or may be entitled, in law or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments, Landlords expressly reserve.

Dated: March 26, 2020                          CONNOLLY GALLAGHER LLP


                                               /s/Karen C. Bifferato
                                               Karen C. Bifferato (#3279)
                                               Kelly M. Conlan (#4786)
                                               1201 N. Market Street, 20th Floor
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                                               Attorneys for Landlord




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                                  CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that on the 26th day of March, 2020, a copy of

the foregoing Notice of Appearance and Request for Notices and Papers was electronically filed

and served via CM/ECF on all parties requesting electronic notification in this case.



Dated: March 26, 2020
                                              /s/Karen C. Bifferato
                                              Karen C. Bifferato (DE 3279)




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